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                                    OFFICE OF THE CLERK
                                UNITED STATES DISTRICT COURT
                                   Northern District of California


                                           CIVIL MINUTES



Date: March 15, 2024            Time: 3:02 p.m. to 3:16 p.m.      Judge: YVONNE GONZALEZ ROGERS

Case No.: 23-cv-04155-YGR       Case Name: California Coalition for Women Prisoners et al v. United
                                States of America Federal Bureau of Prisons et al

 Attorney for Plaintiff: Kara Janssen; Luma Khabbaz; Susan Beaty; and Stephen Cha-Kim
 Attorney for Defendant: Madison Mattioli; Rob France; Dominic Ayotte; and Kristi Sutton

 Deputy Clerk: Edwin Angelo A. Cuenco                   Reported by: Lee-Anne Shortridge

                                            PROCEEDINGS

    Status Conference - held.

    In accordance with its Order, the Court will appoint a special master. Parties are ordered to file
    their list of five proposed names each to serve as special master by March 25, 2024, at 5:00 p.m.

    The government gave notice of the new executive team installed at FCI Dublin;
    Nancy McKinney – Interim Warden
    Greg Chaffey – Acting Executive Assistant and Satellite Camp Administrator
    Charmaine Nash – Associate Warden
    Joel Zaragoza – Acting Captain

    The case is continued on March 27, 2024, at 11:30 a.m. for Status Conference, at which point
    parties will exercise their three strikes as to the special master.

    The plaintiff’s ex parte Motion for Leave to Serve by Publication is Denied without Prejudice.
    Plaintiff’s Motion for Enlargement of Time is Granted.
